Case 23-54125-wlh      Doc 16   Filed 05/19/23 Entered 05/19/23 14:15:36     Desc Main
                                Document      Page 1 of 8




                     UNITED STATES BANKRUPTCY COURT
                      NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

IN RE:                                               )
                                                     )   CASE NO. 23-54145-WLH
BYUNG HO KANG and SAERA YOO,                         )
   Debtors.                                          )   CHAPTER 7
                                                     )
                                                     )
FOUNTAINHEAD SBF, LLC,                               )
                                                     )
        Movant,                                      )
                                                     )
vs.                                                  )   CONTESTED MATTER
                                                     )
BYUNG HO KANG and SAERA YOO,                         )
                                                     )
        Respondents.                                 )

         MOTION FOR ORDER CONFIRMING NO STAY IN EFFECT

        COMES NOW Fountainhead SBF, LLC (“Movant”) and submits this its

Motion for Order Confirming No Stay in Effect showing the Court as follows:

               KEY FACTUAL AND PROCEDURAL BACKGROUND

        1.      Respondents, having filed a voluntary petition pursuant to 11 U.S.C. §

1301 et seq., are subject to the jurisdiction of this Court.

        2.      This is a Motion pursuant to 11 U.S.C. §§ 362(c)(4)(A)(ii) of the

Bankruptcy Code for an Order confirming no stay is in effect in this case.

                                       Page 1 of 8
283178548v.1
Case 23-54125-wlh     Doc 16   Filed 05/19/23 Entered 05/19/23 14:15:36   Desc Main
                               Document      Page 2 of 8




        3.     Movant seeks to pursue its state law rights and remedies to take all

necessary steps to consummate a foreclosure and thereafter to retake possession of

certain real property.

        4.     Movant desires to consummate the pre-petition foreclosure proceedings

initiated against the Property, by recording the Deed Under Power of Sale, which

Movant executed prior to the Debtors filing this case.

        5.     On or about September 16, 2020, Movant executed a Promissory Note

in favor of TSL Group, Inc. (“Borrower”) (Respondents and Borrower are

collectively referred to herein as “Obligors”), in the amount of $3,608,3000.00 (the

“Note”). The Note had a maturity date of September 16, 2030. A true and correct

copy of the Note is attached hereto as Exhibit “1” and is incorporated herein by

reference.

        6.     To secure the repayment of the Note, on September 16, 2020,

Respondents each executed an Unconditional Guarantee (collectively, the

“Guarantees”). True and correct copies of the Guarantees are collectively attached

hereto as Exhibit “2”.

        7.     As further security, on September 16, 2020, Respondents executed a

Deed to Secure Debt, Assignment of Rents, and Security Agreement (the “Security

Deed”) wherein they conveyed to Movant all of their right, title, and interest in and

                                     Page 2 of 8
283178548v.1
Case 23-54125-wlh      Doc 16   Filed 05/19/23 Entered 05/19/23 14:15:36     Desc Main
                                Document      Page 3 of 8




to certain real property situated at 6495 Creekview Circle, Johns Creek, Georgia

30097 (the “Property”). A true and correct copy of the Security Deed is attached

hereto as Exhibit “3” and is incorporated herein by reference.

        8.     Movant properly perfected its security interest in the property described

by Security Deed by recording the Security Deed in the real property records of

Fulton County, Georgia at Deed Book 62343, Page 397 et seq.

        9.     As of or about September 2022, Borrower was in default under the

terms of the Note for, among other things, failure to make timely payments when

due.

        10.    On December 5, 2022, Movant sent a letter to Obligors informing them

of the default on the Note and demanding payment on all past due amounts (the

“Notice of Default”). A true and correct copy of the Notice of Default is attached

hereto as Exhibit “4” and is incorporated herein by reference.

        11.    Obligors failed to cure the default.

        12.    On January 19, 2023, Movant sent a letter to Borrower and Respondents

informing them that the total amount of the debt was accelerated and declared due

and payable in full (the “Notice of Acceleration”). This letter also informed

Borrower and Respondents that Movant intended to exercise the foreclosure remedy

available to it under the Security Deed and included the advertisement announcing

                                       Page 3 of 8
283178548v.1
Case 23-54125-wlh     Doc 16   Filed 05/19/23 Entered 05/19/23 14:15:36     Desc Main
                               Document      Page 4 of 8




the foreclosure sale scheduled for April 4, 2023. A true and correct copy of the

Notice of Acceleration, including the advertisement, is attached hereto as Exhibit

“5” and is incorporated herein by reference.

        13.    Borrower and Respondents failed to cure the default or pay the

delinquent balance due and outstanding under the Notes on or before the dates

specified in the Notice of Default or Notice of Acceleration.

        14.    Movant caused to be published advertisements for Movant’s scheduled

April 4, 2023 foreclosure sale of the Property, in The Daily Report, the official organ

for the publishing of legal advertisements for Fulton County, Georgia, once a week

for the four weeks prior to sale of the property. Attached hereto as Exhibit “6” is a

true and correct copy of the Publisher’s Affidavit reflecting Movant caused said

advertisements to appear.

        15.    On April 4, 2023, Movant conducted a foreclosure sale pursuant to the

power of sale in the Security Deed (the “Sale”).

        16.    At the Sale, the Property was sold to Movant, as highest bidder, for

$270,000.00. See, Exhibit 7.

        17.    On May 1, 2023, Movant executed a Deed Under Power of Sale

memorializing the Sale of the Property to Movant as the highest bidder. A true and




                                     Page 4 of 8
283178548v.1
Case 23-54125-wlh        Doc 16   Filed 05/19/23 Entered 05/19/23 14:15:36    Desc Main
                                  Document      Page 5 of 8




correct copy of the executed, but still-unrecorded, Deed Under Power of Sale is

attached hereto as Exhibit “7” and is incorporated herein by reference.

         18.     In an abundance of caution, Movant seeks an order confirming no stay

in effect in this case so it may proceed with its available state law rights and remedies

as to the Property.

         19.     On May 2, 2023 (the “Petition Date”), Debtors filed this case and

Voluntary Petition [Doc. 1].

         20.      Debtors have not filed any Schedules or Chapter 13 Plan. (See Doc. 8).

         21.     On May 16, 2023, Debtors filed a Motion to Voluntarily Convert Case

from Chapter 13 to Chapter 7. [Doc. 12].

         22.     On May 16, 2023, the clerk converted this case to a Chapter 7 case.

                   ARGUMENT AND CITATION OF AUTHORITY

    I.         The Debtors’ Rights and Title in the Property Were Divested at the
               Time of Foreclosure Sale and Prior to Filing the Petition.

         “Whether a debtor’s equitable right of redemption is terminated by a

foreclosure sale is a question of state law.” Howard v. Citizens Bank of Cochran (In

re Howard), 351 B.R. 251, 255 (Bankr. M.D. Ga. 2006) (citations omitted). Under

Georgia law, a valid foreclosure divests all of the debtor’s rights and title in the

property; thus a foreclosure sale held prior to the commencement of the debtor’s

bankruptcy case terminates the debtor’s equity of redemption. Pearson v. Fleet Fin.
                                        Page 5 of 8
283178548v.1
Case 23-54125-wlh     Doc 16   Filed 05/19/23 Entered 05/19/23 14:15:36      Desc Main
                               Document      Page 6 of 8




Center, Inc. (In re Pearson), 75 B.R. 254, 255 (Bankr. N.D. Ga. 1985) (citing

Carrington v. Citizens Bank of Waynesboro), 144 Ga. 52, 85 S.E. 1027 (Ga. 1915)

and McKinney v. South Boston Sav. Bank, 156 Ga. App. 114, 274 S.E.2d 34 (Ga.

App. 1980)). It is thus critical to determine when a foreclosure sale is complete.

        Under Georgia law, a debtor’s equity of redemption expires when the high bid

is received at the foreclosure sale. See Pearson, 75 B.R. at 255. Indeed,

        [t]he Bankruptcy Courts for the Northern District of Georgia and the
        Southern District of Georgia have held that a debtor’s equity of
        redemption terminates upon sale to the highest bidder on the date the
        foreclosure sale is held even though the foreclosure deed is not recorded
        until after the debtor filed for bankruptcy relief.

In re Hinson Mgmt. Grp., No. 12-58962-CRM, 2012 Bankr. LEXIS 2694, at *3-5

(Bankr. N.D. Ga. June 8, 2012).

        In this case, Debtors’ equitable right of redemption terminated on April 4,

2023, when Movant conducted the Sale. Although the Deed Under Power of Sale

was not recorded prior to the filing of Debtors’ Voluntary Petition, the Property sold

at auction to the highest bidder prior to the Petition Date. Thus, the Debtors were

divested of all rights and title to the Property, including the right of equity of

redemption, when the Sale was completed on April 4, 2023. Moreover, Movant

executed the Deed Under Power of Sale memorializing the transaction prior to the

Petition Date. See, e.g., Ex. 6; cf. Dkt. 1. When Debtors filed their Voluntary Petition

                                      Page 6 of 8
283178548v.1
Case 23-54125-wlh     Doc 16   Filed 05/19/23 Entered 05/19/23 14:15:36     Desc Main
                               Document      Page 7 of 8




commencing this bankruptcy case, they had no rights or title to the Property;

therefore, the Property is not a part of the bankruptcy estate and should not be

subjected to the automatic stay.

        WHEREFORE, Movant prays for the following relief:

   (A) an Order confirming the automatic stay does not apply to the Property in

       substantially the same form as the proposed Order filed herewith;

   (B) that the Court deny any imposition of the automatic stay as to Movant;

   (C) for such other and further relief as the Court deems just and equitable.

    Respectfully submitted this 19th day of May, 2023.

                                            WILSON ELSER MOSKOWITZ
                                            EDELMAN & DICKER, LLP

                                            /s/ Lawrence Lee Washburn IV
                                            Lawrence Lee Washburn IV
                                            Georgia Bar No. 562374
 3348 Peachtree Road NE                     Ciara N. Lowe
 Suite 1400                                 Georgia Bar No. 658035
 Atlanta, GA 30326
 470-419-6650 (main)                        Counsel for Fountainhead SBF LLC
 470-419-6651 (facsimile)
 lee.washburn@wilsonelser.com
 ciara.lowe@wilsonelser.com




                                     Page 7 of 8
283178548v.1
Case 23-54125-wlh     Doc 16   Filed 05/19/23 Entered 05/19/23 14:15:36    Desc Main
                               Document      Page 8 of 8




                           CERTIFICATE OF SERVICE

         I hereby certify that I have this date served a true and correct copy of the

within and foregoing Motion for Order Confirming No Stay In Effect upon the

following by filing it with the Clerk of Court using the CM/ECF system which will

automatically send an email notification of such filing to the following, or through

first class U.S. Mail, postage prepaid:

 Soo J. Hong                                 S. Gregory Hays
 Blevins & Hong, P.C.                        Hays Financial Consulting, LLC
 191 Roswell St.                             Suite 555
 Marietta, GA 30060                          2964 Peachtree Road
 Attorney for Debtor                         Atlanta, GA 30305
                                             Chapter 7 Trustee

 Byung Ho Kang                               Office of the United States Trustee
 Saera Yoo                                   362 Richard Russell Building
 6495 Creekview Circle                       75 Ted Turner Drive, SW
 Duluth, GA 30097                            Atlanta, GA 30303
 Debtors


        Dated: May 19, 2023.

                                              /s/ Lawrence Lee Washburn IV
                                              Lawrence Lee Washburn IV
                                              Georgia Bar No. 562374
                                              Attorney for Movant
                                              Fountainhead SBF, LLC




                                      Page 8 of 8
283178548v.1
